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                                #:38096




  EXHIBIT 48

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                                    #:38097
     Case 2:20-cv-09582-JFW-E Document 428 Filed 08/24/22 Page 1 of 5 Page ID #:33543
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                                                               CLERK, U.S. DISTRICT COURT
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       3                                                               8/24/22
        4                                                    CENTRAL DISTRICT OF CALIFORNIA
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        8                       UNITED STATES DISTRICT COURT
        9                      CENTRAL DISTRICT OF CALIFORNIA
      10
      11    VANESSA BRYANT,                      Case No. CV 20-9582-JF W(Ex)

      12                     Plaintiff,          (Consolida ted with Case No. CV
                                                 20-10844 - JFW(Ex))
      13         v.
                                                 VERDICT FORM FOR PLAINTIFF
      14    LOS ANGELES COUNTY                   VANESSA BRYANT
            SHERIFF'S DEPARTMENT; LOS
      15    ANGELES COUNTY FIRE
            DEPARTMENT,
       16
                             Defendant s.
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                                                                             Exhibit 48 - Page 872
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   1                    PLAINTIFF VANESSA BRYANT'S CLAIM AGAINST
                    DEFENDANT LOS ANGELES COUNTY SHERIFF'S DEPARTMENT
   2
   3   Question No. 1: On the claim of Plaintiff Vanessa Bryant
   4   against Defendant Los Angeles County Sheriff's Department for
   5   violation of her constitutional rights (Section 1983) based
   6   on a policy that fails to prevent violations of law by its
   7   employees or a failure to train its employees, we, the
   8   undersigned jurors, unanimously find in favor of (check one):
   9               Plaintiff Vanessa Bryant:                                 /
  10               Defendant Los Angeles County Sheriff's Department:
  11
  12   Proceed to Question No. 2.
  13
  14   Question No. 2: On the claim of Plaintiff Vanessa Bryant
  15   against Defendant Los Angeles County Sheriff's Department for
  16   violation of her constitutional rights (Section 1983) based
  17   on a practice or custom, we, the undersigned jurors,
  18   unanimously find in favor of (check one):
  19               Plaintiff Vanessa Bryant:
  20               Defendant Los Angeles County Sheriff's Department:
  21
  22   If you found in favor of Plaintiff Vanessa Bryant on her
  23   claim against Defendant Los Angeles County Sheriff's
  24   Department in Question No. 1 or Question No. 2 (or both),
  25   answer Question No. 3. Otherwise, skip Question No. 3 and
  26   proceed to Question No. 4.
  27   /   /   /
  28   /   /   /


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                                #:38099
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   1   Question No. 3: If you found in favor of Plaintiff Vanessa
   2   Bryant on her claim against Defendant Los Angeles County

   3   Sheriff's Departmen t in Question No. 1 or Question No. 2                             (or

   4   both), enter the amount of damages you award Plaintiff
   5   Vanessa Bryant for the conduct of Los Angeles County
   6   Sheriff's Departmen t and its officers and employees .
   7       Past physical, mental, and emotional
           pain and suffering , loss of enjo yment
   8       of life, humiliatio n, grief, anxiety,
           and emotional distress:                              $   '2 . 5   µj II ,'ut..,
   9

  10        Future physical, mental, and emotional
            pain and suffering , loss of enjoyment
  11        of life, humiliatio n, grief, anxiety,
            and emotional distress:
  12
  13   Proceed to Question No. 4.
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                                                                 Exhibit 48 - Page 874
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                                #:38100
Case 2:20-cv-09582-JFW-E Document 428 Filed 08/24/22 Page 4 of 5 Page ID #:33546



   1               PLAINTIFF VANESSA BRYANT'S CLAIM AGAINST
                 DEFENDANT LOS ANGELES COUNTY FIRE DEPARTMENT
   2
   3   Question No. 4: On the claim of Plaintiff Vanessa Bryant
   4   against Defendant Los Angeles County Fire Department for
   5   violation of her constitution al rights          (Section 1983) based

   6   on a policy that fails to prevent violations of law by its
   7   employees or a failure to train its employees, we, the
   8   unders i gned jurors, unanimously find in favor of (check one):
   9        Plaintiff Vanessa Bryant:
  10        Defendant Los Angeles County Fire Department:
  11
  12   Proceed to Question No. 5.
  13
  14   Question No. 5: On the claim of Plaintiff Vanessa Bryant
  15   against Defendant Los Angeles County Fire Department for
  16   violation of her constitution al rights (Section 1983) based
  17   o n a practice or custom, we, the undersigned jurors,
  18   unanimously find in favor of (check one):
  19        Plaintiff Vanessa Bryant:
  20        Defendant Los Angeles County Fire Department:
  21
  22   If you found in favor of Plaintiff Vanessa Bryant on her
  23   claim against Defendant Los Angeles County Fire Department in
  24   Question No. 4 or Question No. 5 (or both), answer Question
  25   No. 6. Otherwise, skip Question No. 6 and sign and date t h e
  26   verdict form.
  27   / / /
  28   I I I

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                                                                 Exhibit 48 - Page 875
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                                #:38101
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    1   Question No. 6: If you found in favor of Plaintiff Vanessa
    2   Bryant on her claim against Defendant Los Angeles County Fire
    3   Department in Question No. 4 or Question No. 5 (or both),
    4   enter the amount of damages you award Plaintiff Vanessa
    5   Bryan t       for the conduct of Los Angeles County Fire Department
    6   and its officers and employees.
    7            Past physical, mental, and emotional
                 pain and suffering, loss of enjoyment
    8            of life, humiliation, grief, anxiety,
                 and emotional distress:
    9

  10             Future physical, mental, and emotional
                 pain and suffering, loss of enjoyment
  11             of life, humiliation, grief, anxiety,
                 and emot i onal distress:
  12
  13    Sign and date the verdict form.
  14
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  16                                                                       /s/
  17    Date: 'ir /?,.-l/ ( ·b oz...-Z.
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